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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 TARA HALL AS PERSONAL
 REPRESENTATIVE OF THE ESTATE
 OF MARCEL THEO HALL,

                Plaintiff,
                                                          Case No.: 1:22-cv-00806 (CKK)
                        v.

 BIZ MARKIE, INC., et al.,

                Defendants.


                      [PROPOSED] ORDER GRANTING
      PLAINTIFF’S MOTION FOR LEAVE TO FURTHER AMEND COMPLAINT

       The Court has reviewed the Plaintiff’s Motion for Leave to Further Amend Complaint

and any opposition thereto, and, upon consideration thereof, it is hereby:

       ORDERED that Plaintiff’s Motion for Leave to Further Amend Complaint is

GRANTED; and it is further

       ORDERED that Plaintiff’s Second Amended Complaint is deemed filed and served as of

___________________, 2024.

       SO ORDERED.

Date:____________________                            ____________________________
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge


Copies:
Peter C. Nanov
Michael J. Garvin
Marcel C. Duhamel
Aaron M. Williams
Dayna Cooper
